                    Case 18-30765              Doc 15         Filed 09/25/18 Entered 09/25/18 07:30:50                                Desc Main
                                                                Document     Page 1 of 2
Fill in this information to identify your case:

Debtor 1           Kathleen Guevin
                  __________________________________________________________________
                    First Name               Middle Name               Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name               Last Name




                                                                                                                                             Check if this is an
United States Bankruptcy Court for the: District of Massachusetts
                                        __________    District of __________

Case number         ___________________________________________
 (If known)                                                                                                                                     amended filing



  2IILFLDO)RUP 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                           12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Part 1:          List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                What do you intend to do with the property that     Did you claim the property
                                                                                    secures a debt?                                     as exempt on Schedule C?

          Creditor’s                                                               
                                                                                   ✔ Surrender the property.                             No
                                                                                    Retain the property and redeem it.                 
          name:            US Bank
                                                                                                                                        ✔ Yes
         Description of
         property
                                 57 Bonair Ave.                                     Retain the property and enter into a
                                 West Springfield, MA 01089
                                                                                    Retain the property and [explain]: __________
         securing debt:                                                               Reaffirmation Agreement.


                                                                                      ______________________________________

  
         Creditor’s                                                                
                                                                                   ✔ Surrender the property.                             No
                                                                                    Retain the property and redeem it.                 
         name:             City of West Springfield
                                                                                                                                        ✔ Yes
         Description of
         property
                                 57 Bonair Ave                                      Retain the property and enter into a
                                 West Springfield, MA 01089
                                                                                    Retain the property and [explain]: __________
         securing debt:                                                               Reaffirmation Agreement.



  
                                                                                      ______________________________________

         Creditor’s                                                                 Surrender the property.                             No
                                                                                    Retain the property and redeem it.                  Yes
         name:

         Description of
         property                                                                   Retain the property and enter into a

                                                                                    Retain the property and [explain]: __________
         securing debt:                                                               Reaffirmation Agreement.


                                                                                      ______________________________________

         Creditor’s                                                                 Surrender the property.                             No
                                                                                    Retain the property and redeem it.                  Yes
         name:

         Description of
         property                                                                   Retain the property and enter into a

                                                                                    Retain the property and [explain]: __________
         securing debt:                                                               Reaffirmation Agreement.


                                                                                      ______________________________________


  Official Form 108                            Statement of Intention for Individuals Filing Under Chapter 7                                    page 1
                Case 18-30765                         Doc 15          Filed 09/25/18 Entered 09/25/18 07:30:50                      Desc Main
                                                                        Document     Page 2 of 2
 Debtor 1            Kathleen Guevin
                    ______________________________________________________                             Case number (If known)_____________________________________
                    First Name          Middle Name       Last Name




   Part 2:          List Your Unexpired Personal Property Leases

   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
   fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
   ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

        Describe your unexpired personal property leases                                                                       Will the lease be assumed?

       Lessor’s name:                                                                                                         No
                                                                                                                               Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                         No
                                                                                                                               Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                         No
       Description of leased                                                                                                   Yes
       property:


       Lessor’s name:                                                                                                         No
                                                                                                                               Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                         No
                                                                                                                               Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                         No
                                                                                                                               Yes
       Description of leased
       property:
  
       Lessor’s name:                                                                                                         No
                                                                                                                               Yes
       Description of leased
       property:




  Part 3:           Sign Below



     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any




  8 /s/ Kathleen Guevin                                                  8
     personal property that is subject to an unexpired lease.



       ___________________________________________                         ___________________________________________
       Signature of Debtor 1                                                 Signature of Debtor 2

            09/24/2018
       Date _________________                                                Date _________________
             MM /     DD     /   YYYY                                             MM /   DD /   YYYY




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